          Case 2:20-cv-04336-CFK Document 5 Filed 09/15/20 Page 1 of 5



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       LEIGHONA TAYLOR BERNSTEIN                           CIVIL ACTION


                 V.


       TRANS UNION, LLC, et al.                        CASE NO. 2:20-cv-04336-CFK


                                            ORDER

       AND NOW, this _ Day of.                             _, 2020, it is hereby

       ORDERED that the application of Katherine E. Carlton Robinson , Esquire, to practice
in this Court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

n GRANTED.

n DENIED.



                                                                                   J.
                  Case 2:20-cv-04336-CFK Document 5 Filed 09/15/20 Page 2 of 5


                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                        Civil Action No# 2:20-cv-04336-CFK

  APPLICA TION FORM FOR THOSE A TTORNEYS SEEKING TO PRA CTICE IN THIS COURT PURSUANT TO
                          LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)
1. APPLICANT'S STATEMENT

         I,.       Katherine E. Carlton Robinson               the undersigned, am an attorney who is not currently admitted to either the bar
of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this court pursuant to Local
Rule of Civil Procedure 83.5.2(b), and have submitted payment via credit card . for the $40.00 admission fee.
A. I state that I am currently admitted to practice in the following state jurisdictions:
Indiana,_ ^ 05/20/2014 31694-49
 (State where admitted) (Admission date) (Attorney Identification Number)


 (State where admiUed)                   (Admission date)                         (Attorney Identification Number)


 (State where admitted)                  (Admission date)                         (Attorney Identification Number)


S. / state that I am currently admitted to practice in the following federal jurisdictions:
See attached
 (Court where admitted)                  (Admission date)                         (Attorney Identification Number)


 (Court where admiUed)                   (Admission date)                         (Attorney Identification Number)



 (Court where admitted)                  (Admission date)                         (Attorney Identification Number)

C. I state that I am at present a member of the aforesaid bars in good standing, and that I -will demean myself as an attorney of this
          court uprightly and according to lav/, and that I will support and defend the Constitution of the United States.

          / am entering my appearance for                   Trans Union. LLC



                                                              UM^O
                                                             (Applicant's Signature)

                                                            September 15.2020
                                                            (Date)

                   NAME OF APPLICANT'S FIRM, ADDRESS, TELEPHONE NUMBER AND EMAIL ADDRESS:

           Schuckit & Associates, P.C., 4545Northwestem_Drive, Zionsville. FN 46077

           (317)363-2400

           krobinson(S),schuckitlaw.com

          I declare under penalty of perjury that the foregoing is true and correct.



          Executed on September 15. 2020
                                                                                   (um^)
                      (Date)                                                           (Applicant's Signature)
                Case 2:20-cv-04336-CFK Document 5 Filed 09/15/20 Page 3 of 5


II. SPONSOR'S STATEMENT. MOTION AND CERTIFICATE OF SERVICE
        The undersigned member of the bar of the United States District Court for the Eastern District of
Pennsylvania hereby moves for the admission of Katherine E. Carlton Robinson _ to practice in said court
pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
that the applicant is a member in good standing of the above-referenced state and federal courts and that the
applicant's private and personal character is good. I certify that this application fonn was on this date, served on
all interested counsel via the Court's electronic filing system.


Casey B. Green                                             11/21/2006                 91005
Sponsor's Name               Sponsor's Signature           Admission date             Attorney
                                                                                      Identification No.




SPONSOR'S OFFICE ADDRESS AND TELEPHONE NUMBER:

 Sidkoff. Pincus & Green. 1101 Market Street, Suite 2700. Philadelphia. PA 19107

 C215') 574-0600




I declare under penally of perjury that the foregoing is true and correct.


Executed on        September 15, 2020
                         (Date)                                    (Sponsor's Signature)
          Case 2:20-cv-04336-CFK Document 5 Filed 09/15/20 Page 4 of 5



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       LEIGHONA TAYLOR BERNSTEIN                           CIVIL ACTION


                 V.


       TRANS UNION, LLC, et al.                         CASE NO. 2:20-cv-04336-CFK


                                 CERTIFICATE OF SERVICE

I declare under penalty of perjury that a copy of the application of Katherine   E.     Carlton

Robinson, Esq., to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and

the relevant proposed Order which, if granted, would permit such practice in this court was sent

by ECF Notification to:

Gregory J. Gorski, Esq. fgreg@greggorskilaw.com)




                                                                   /s/Casev B. Green_
                                                                   Signature of Attorney

                                                                   Casey B. Green
                                                                   Name of Attorney

                                                                   Trans Union, LLC
                                                                   Name of Moving Party

                                                                         September 15, 2020
                                                                   Date
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          Attachment to Application for Admission of Attorney Pro Hac Vice -
                             Katherine E. Carlton Robinson


                  Leighona Taylor Bernstein v. Trans Union, LLC, et al.

Federal Bar Admissions:

      U.S. District Court for the Northern District of Illinois - 04/06/2018
      U.S. District Court for the Northern District of Indiana- 05/20/2014
      U.S. District Court for the Southern District of Indiana - 05/20/2014
      U.S. District Court for the Eastern District of Michigan - 06/25/2014
      U.S. District Court for the Western District of New York- 12/02/2016
      U.S. District Court for the District of North Dakota - 4/23/2019
      U.S. District Court for the Northern District of Ohio - 03/20/2015
      U.S. District Court for the Eastern District of Wisconsin - 9/5/2018
      U.S. Court of Appeals, 4th Circuit-07/13/2018; n/a
